Case 4:14-cv-00704-GKF-JFJ Document 159 Filed in USDC ND/OK on 06/10/20 Page 1 of 13




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA

   UNITED STATES OF AMERICA, and       )
   THE OSAGE MINERALS COUNCIL,         )
                                       )
                Plaintiffs,            )
                                       )
   vs.                                 )     Case No. 14-CV-704-GKF-JFJ
                                       )
   OSAGE WIND, LLC;                    )
   ENEL KANSAS, LLC; and               )
   ENEL GREEN POWER NORTH              )
   AMERICA, INC.,                      )
                                       )
                Defendants.            )




             DEFENDANTS OSAGE WIND, LLC, ENEL KANSAS, LLC, AND
           ENEL GREEN POWER NORTH AMERICA, INC.’S REPLY BRIEF IN
           SUPPORT OF THEIR PARTIAL MOTION TO DISMISS THE OSAGE
              MINERALS COUNCIL’S COMPLAINT IN INTERVENTION




    Ryan A. Ray, OBA #22281                Lynn H. Slade, admitted pro hac vice
    NORMAN WOHLGEMUTH CHANDLER             Sarah M. Stevenson, admitted pro hac vice
    JETER BARNETT & RAY, P.C.              MODRALL, SPERLING, ROEHL,
    2900 Mid-Continent Tower               HARRIS & SISK, P.A.
    401 South Boston Avenue                Post Office Box 2168
    Tulsa, OK 74103                        Albuquerque, NM 87103-2168
    918-583-7571                           505-848-1800
    918-584-7846 (facsimile)               505-848-9710 (facsimile)

                                       ATTORNEYS FOR DEFENDANTS,
                                       OSAGE WIND, LLC, ENEL KANSAS, LLC
                                       AND ENEL GREEN POWER NORTH
                                       AMERICA, INC.
   Dated: June 10, 2020
Case 4:14-cv-00704-GKF-JFJ Document 159 Filed in USDC ND/OK on 06/10/20 Page 2 of 13




   I.     OKLAHOMA LAW IS ADOPTED INTO FEDERAL LAW AS RELEVANT, BUT EVEN                            IF IT
          WERE NOT, THERE IS NO MATERIAL CONFLICT.

          The OMC contends that Oklahoma law applies only to its trespass claim, and not to any

   issue of remedy. (Dkt. # 158, at 708 & n.2).1 On the question of remedies globally there is a

   “‘presumption that state law should be incorporated into federal common law.’” United States v.

   Turley, 878 F.3d 953, 956 (10th Cir. 2017) (quoting Kamen v. Kemper Fin. Servs., 500 U.S. 90,

   98 (1991)). “Displacement [of state law] will occur only where . . . a significant conflict exists

   between an identifiable federal policy or interest and the operation of state law or the application

   of state law would frustrate specific objectives of federal legislation.” Boyle v. United Techs.

   Corp., 487 U.S. 500, 507 (1988). Here, no federal statute gives the OMC the right to, for example,

   disgorgement, an accounting,2 or an injunction.3 Thus, there is no legislative objective to frustrate.

          The OMC claims that there is purportedly an identifiable federal policy or interest—

   apparently applicable only in the Tribal context—allowing the “award[] [of] both monetary

   damages and equitable relief for trespass to Indian lands in order to ‘reimburse the Tribe for the

   most profitable use of its land.’” (Dkt. # 158, at 8, quoting United States v. Pend Oreille Pub. Util.



   1
     At the outset, this is not entirely correct. For just as the Tenth Circuit noted that it “lack[ed] a
   federal body of trespass law to protect the Allottees' federal property interests,” Davilla v. Enable
   Midstream Partners L.P., 913 F.3d 959, 965 (10th Cir. 2019), there is similarly a lack of federal
   law on conversion, and the OMC has identified no such law. Without such law before the Court,
   the same principle must apply to conversion as it does to trespass a fortiori.
   2
    The OMC Response claims that a “confidential relationship” can exist in many situations. (Dkt.
   # 158, at 18). While that may be true, “a confidential relationship cannot be unilateral . . . [and] it
   arises only if both parties understand that a special trust or confidence has been reposed.” In re
   Jackson Nat'l Life Ins. Co. Premium Litig., 107 F. Supp. 2d 841, 863 (W.D. Mich. 2000).
   3
     This is not supported by the cases the OMC relies upon. For example, the Lanham Act—at issue
   in Dairy Queen, Inc. v. Wood, 369 U.S. 469, 475 (1962)—expressly confers the right to “recover
   . . . defendant’s profits.” 15 U.S.C. § 1117(a). The same is true of the Resource Conservation and
   Recovery Act—at issue in United States v. Torlaw Realty, Inc., 483 F. Supp. 2d 967, 974 (C.D.
   Cal. 2007)—where 42 U.S.C. § 6928 expressly allows for the recovery of monetary penalties and
   injunctive relief.
Case 4:14-cv-00704-GKF-JFJ Document 159 Filed in USDC ND/OK on 06/10/20 Page 3 of 13




   Dist. No. 1, 28 F.3d 1544, 1551 (9th Cir. 1994)). But in Pend Oreille, unlike here, prospective

   injunctive relief was awarded to stop further, future flooding, while monetary damages for trespass

   were awarded to remedy the past flooding. In other words, there were two distinct “injuries” to

   be remedied, warranting distinct remedies. Here, there is no dispute that Osage Wind is not

   engaged in the activities which the Tenth Circuit found were “mining,” and there is no plausible

   allegation that such activity continues. No cited or located authority awards an Indian Tribe—or

   any other party for that matter—both money damages and equitable relief for the same exact

   wrong, at least without specific, statutory authorization to do so, which is not present here.

          In any event, on the key issues as to equitable relief, federal common law and Oklahoma

   law are not in conflict. “[I]n the federal courts equity has always acted only when legal remedies

   were inadequate.” SFF-TIR, LLC v. Stephenson, 262 F. Supp. 3d 1165, 1200-01 (N.D. Okla.

   2017). “[M]oney damages are an adequate remedy at law.” Tilton v. Capital Cities/ABC, 827 F.

   Supp. 674, 682 (N.D. Okla. 1993). And proof of irreparable harm is a necessary element (which

   must also be pleaded) to obtain permanent injunctive relief under federal law. Sw. Stainless, Ltd.

   P'ship v. Sappington, 582 F.3d 1176, 1191 (10th Cir. 2009). Since the OMC cannot show—and

   has not plausibly pleaded—either irreparable injury or lack of an adequate remedy at law in this

   case, it cannot pursue equitable relief for each of these independent reasons.

   II.    THE WRONG FOUND BY THE TENTH CIRCUIT CANNOT SUPPORT EQUITABLE RELIEF.
          To properly consider the question of remedy, one must first remember what is and is not

   at issue in this case, and what the Tenth Circuit actually found. The Tenth Circuit was considering

   a regulation that prohibits mining without a lease—there is no provision of law in this case that

   prohibits, even arguably, a wind-energy project from operating. Thus, the Tenth Circuit cannot be

   said to have actually found, or even had a legal basis to have possibly found, that Osage Wind is

   operating an “illegal wind farm.”

                                                    2
Case 4:14-cv-00704-GKF-JFJ Document 159 Filed in USDC ND/OK on 06/10/20 Page 4 of 13




          Originally in this Court, the United States had espoused that Defendants’ activities

   amounted to “performing ‘work of any nature’ significantly impacting the Osage Mineral

   Reserve,” which the United States apparently contended violated Part 214 irrespective of whether

   the activities amounted to “mining.” (Dkt. # 24, at 6-7). The Tenth Circuit noted the OMC did

   not raise that argument on appeal. United States v. Osage Wind, LLC, 871 F.3d 1078, 1082 n.2

   (10th Cir. 2017). Thus, given the United States’ inaction and the OMC’s waiver, the prohibition

   of “mining” was the only alleged wrong before the Tenth Circuit (and thus before this Court now).4

          At its most basic level, the issue can be summarized as: no one can legitimately say that

   operating a wind energy project is “mining.” Indeed, the Tenth Circuit rejected the assertion that

   merely breaking the ground or the Project’s presence subsurface was unlawful:

          We agree with Osage Wind, however, that merely encountering or incidentally
          disrupting mineral materials would not trigger § 211.3’s definition. In other
          words, “the simple removal of dirt does not constitute mining.” 53A Am. Jur. 2d
          Mines and Minerals § 14. There is simply no sense in which the word “mineral
          development” means only the removal of dirt without some further
          manipulation, commercialization, or offsite relocation of it. The problem here is
          that Osage Wind did not merely dig holes in the ground—it went further. It sorted
          the rocks, crushed the rocks into smaller pieces, and then exploited the crushed
          rocks as structural support for each wind turbine. The ultimate question is whether
          this operation constitutes “mineral development” as we have conceptualized the
          term. We hold that it does.

   Id. at 1091 (bolding added, italics in original). The Tenth Circuit’s analysis means that Osage Wind

   did not need a lease for the Project more generally, but only in order to sort rocks, crush rocks, and

   exploit the crushed rock for foundations.


   4
     The Tenth Circuit also rejected the OMC’s contention that the de minimis exception of 25 C.F.R.
   § 211.3 “establishes a separate definition” of mining, apparently premised upon the size of the
   Project, a contention that continues to lurk in the OMC’s Response. Instead, the Tenth Circuit
   found that “[t]he inclusion of the de minimis exception does not negate the need initially to satisfy
   the threshold definition of mining.” Osage Wind, 871 F.3d at 1089. This furthers the conclusion
   that only the specific activity found to constitute “mining” under the regulations is remediable by
   this Court.
                                                     3
Case 4:14-cv-00704-GKF-JFJ Document 159 Filed in USDC ND/OK on 06/10/20 Page 5 of 13




          Accordingly, when one properly considers that the only wrong found by the Tenth Circuit

   was Osage Wind’s “sort[ing] and then crush[ing] the minerals and us[ing] them as backfill to

   support its wind turbine structures,” id. at 1090, it becomes clear that (i) there is nothing to enjoin

   (because that conduct is not plausibly alleged to be ongoing (and is neither, in fact, ongoing nor

   intended in future)); (ii) Osage Wind was entirely within its legal rights to “encounter[] or

   incidentally disrupt[] mineral materials,” including in constructing a wind energy project, and (iii)

   the fact that the Project’s foundations exist subsurface is not illegal or unlawful under any theory.

   With those indisputable matters in mind, the unavailability of equitable relief is clear.

          “[F]or every right, there is a remedy.” Marbury v. Madison, 5 U.S. 137, 162-63 (1803).

   But it is not true that the violation of every right entitles a party to every remedy. It has always

   been the rule that “suits in equity shall not be sustained in the courts of the United States ‘in any

   case where plain, adequate and complete remedy may be had at law.’” Matthews v. Rodgers, 284

   U.S. 521, 525 (1932). As discussed in Part III.C infra, the OMC has an adequate remedy at law—

   monetary damages measured either by royalty value or the value of the minerals less the cost of

   producing them. Consequently, equitable relief is unavailable to the OMC under the “traditional

   notion that equity should not intervene where legal remedies (i.e., damages) are adequate, either

   in practice or even just in theory.” Kramer v. Thompson, 947 F.2d 666, 679 (3d Cir. 1991).

   III.   THE OMC RESPONSE FAILS TO SUPPORT THAT AN ALLEGED INJURY                                     TO
          “SOVEREIGNTY,” WITHOUT MORE, ESTABLISHES IRREPARABLE INJURY.

          The OMC Response relies exclusively on the OMC’s asserted “sovereign right to say no,”

   contending “‘significant interference with [a Tribe’s] self-government’ constitutes irreparable

   harm warranting the imposition of injunctive relief” in an attempt to defeat Defendants’ showing

   that the OMC has failed to demonstrate irreparable injury warranting injunctive relief. (Dkt. #

   158, at 15 (citing Seneca-Cayuga Tribe of Oklahoma v. Oklahoma, 874 F.2d 709 (10th Cir. 1989),

                                                     4
Case 4:14-cv-00704-GKF-JFJ Document 159 Filed in USDC ND/OK on 06/10/20 Page 6 of 13




   and cases quoting it)). The Response identifies no other irreparable injury beyond alleged injury

   to “sovereignty.” The OMC Response fails: first, because no case it cites or that Defendants’

   research disclosed holds an injury to sovereignty, standing alone, absent any other irreparable

   injury to tribal interests, supported equitable remedies. Second, under the Tenth Circuit Opinion,

   the OMC had no power to say “no” to the Project itself, because, had Osage Wind been aware, or

   even on notice, of the Tenth Circuit’s Opinion,5 it could have simply acquired the materials it

   crushed and used as fill material from another source (they are not unique), and no OMC or BIA

   approval would have been required for any of Osage Wind’s activities.

       A. No Case Holds Injury to Sovereignty, Without More, Is Irreparable in Itself.

          The OMC relies exclusively on three cases to relieve it of the duty to allege facts

   establishing irreparable injury. (Dkt. # 158, at 15-16). Significantly, however, all three cases

   involved substantial tribal interests not compensable by money damages the state actions involved

   would impair, in addition to injury to sovereignty. In Seneca-Cayuga Tribe, the Tribes filed suit

   to enjoin a pending state court suit in which the State of Oklahoma sought to enjoin operation of

   the Tribes’ high stakes bingo games. 874 F.2d 709. Noting Oklahoma did not deny the conditions

   for a preliminary injunction were satisfied, Judge Seymour’s opinion detailed the Tribes’ injuries:

   “[t]hey would lose income used to support social services for which federal funds have been

   reduced or are non-existent, and lose jobs employing Indians . . . . The Tribes would also be forced

   to expend time and effort on litigation in a court that does not have jurisdiction over them, and risk




   5
     Contrary to its suggestion, the OMC is not the arbiter of whether the regulations apply to a
   specific situation. Instead, “[i]t is emphatically the province and duty of the judicial department
   to say what the law is.” Marbury, 5 U.S. (1 Cranch) at 177. Until the Tenth Circuit ruled in this
   case, no court had adopted the construction of the regulations ultimately reached, and in fact the
   Honorable James H. Payne rejected it.

                                                     5
Case 4:14-cv-00704-GKF-JFJ Document 159 Filed in USDC ND/OK on 06/10/20 Page 7 of 13




   inconsistent binding judgments from state and federal courts.” Id. at 716;6 see also Prairie Band

   of Potawatomi Indians v. Pierce, 253 F.3d 1234, 1251 (10th Cir. 2001) (in a case involving state

   refusal to recognize tribal vehicle registration, explaining that “the injury to the tribe was

   irreparable because it could not be adequately compensated for in the form of monetary damages.

   but . . . perhaps more important, monetary relief might not be available to the tribe because of the

   state's sovereign immunity.” (emphasis added)); Wyandotte Nation v. Sebelius, 443 F.3d 1247,

   1251-52, 1256 (10th Cir. 2006) (concluding that “[a] failure to grant the injunction would cause

   the Wyandotte serious harm” because its facilities were being raided, its property being seized,

   and its officers being arrested).

          Cayuga Indian Nation of New York v. Vill. of Union Springs, 293 F. Supp. 2d 183, 196-98

   (N.D.N.Y. 2003), illustrates that, to be irreparable, an injury to sovereignty must exist along with

   other irreparable injuries. In Cayuga, the court distinguished Pierce, and similar authority, as “the

   infringement of tribal sovereignty [in those cases] was either much larger in scope than that which

   is at issue here, or was accompanied by other harm which could not be valued in dollars.” Id. at

   197. The same is true in this case, and money damages are available.

          The Response fails to show a plausible irreparable injury because OMC does not advance

   any injury to sovereignty comparable to that discussed in the cases OMC cites. Rather, the OMC’s

   injury, which is limited to damages arising from Osage Wind’s “sort[ing],“ “crush[ing],” and

   “exploiting” rock for the tower foundations, is readily remedied by money damages.7



   6
    This, in and of itself, is irreparable harm, Crowe & Dunlevy, P.C. v. Stidham, 640 F.3d 1140,
   1157 (10th Cir. 2011); but is not presented here.
   7
     Nor does the Response identify injuries it asserts are irreparable in addressing specific remedies,
   beyond that to its asserted “sovereign’ right to say “no.” (See Dkt. # 158, at 17-18 (accounting);
   id. at 19-20 (disgorgement); id. at 20-23 (continuing trespass)).


                                                    6
Case 4:14-cv-00704-GKF-JFJ Document 159 Filed in USDC ND/OK on 06/10/20 Page 8 of 13




       B. There is No Injury to Sovereignty of any Sort Because the OMC Could Not Say “No.”

          The Response, relying solely on injury to sovereignty, gains no support from the Seneca-

   Cayuga line of cases because the OMC’s only injury was loss of the regulatorily prescribed value

   for rock Osage Wind “sorted,“ “crushed,” and “exploited” in tower foundations. Osage Wind, 871

   F.3d at 1091. The Tenth Circuit made clear Osage Wind could have excavated and reused

   materials in foundations without running afoul of the Part 211 and 214 regulations, so long as

   Osage Wind did not crush and reuse the crushed materials: in fact, had Osage Wind been on notice

   that the Tenth Circuit’s conclusion was, in fact, the law, it could simply have purchased needed

   materials at the nearby quarry and left on site rocks of a size not suitable for foundation support,

   which the OMC itself acknowledges. (See Dkt. # 140, at ¶ 57). Hence, the OMC had no sovereign

   authority to say “no” to the Project entirely. Consequently, the mere continuous, post-construction

   presence of the Project foundations is not material to any injury arising from the absence of a lease,

   and the only injury the OMC sustained is readily remedied in damages measured by the cost Osage

   Wind would have incurred had it acquired the foundation materials elsewhere.

       C. The OMC Fails to Refute Defendants’ Showing that the OMC Has an Adequate Remedy
          at Law—Monetary Damages for Conversion and/or Trespass.
          Contrary to OMC’s Response, an adequate remedy at law exists—the readily calculable

   monetary damages measured by the market value of the rock that was “sorted,” “crushed” and

   exploited.” (See Dkt. # 150, at 19).8 As Defendants’ Motion established, when, as here, mining

   occurs without a lease, the measure of damage is the market value of the extracted mineral less the

   expenses of severing the minerals. See Dkt. # 150, at 20 n.9 (citing Dilworth v. Fortier, 1964 OK



   8
     The OMC’s assertion that the market value will be “arbitrarily assigned” has no basis in law or
   fact (See Dkt. # 158, at 19 n.7). The regulations at issue in the Tenth Circuit’s Opinion include
   measures by which the value can be calculated. See, e.g., 25 C.F.R. § 214.10 (royalty rates); 25
   C.F.R. § 211.43 (same).

                                                     7
Case 4:14-cv-00704-GKF-JFJ Document 159 Filed in USDC ND/OK on 06/10/20 Page 9 of 13




   112, ¶ 27, 405 P.2d 38, 45; Edwards v. Lachman, 1974 OK 58, ¶ 17, 534 P.2d 670, 674); see also

   Am. Mining Ins. Co. v. Peters Farms, LLC, 557 S.W.3d 293, 294 (Ky. 2018); Pan Coal Co. v.

   Garland Pocahontas Coal Co., 125 S.E. 226, 227 (W. Va. 1924).9 The Interior Board of Land

   Appeals (“IBLA”) has identified the same measure of damages for trespasses to federal minerals.

   See, e,g., Harney Rock and Paving Co., 91 IBLA 278, 289 (1986) (“Accordingly, we hold that

   absent a clear expression to the contrary in [relevant state law], damages for an unintentional

   trespass involving crushed rock may consist of either (1) the royalty value of the mineral or (2) the

   market value of the severed and crushed rock less the expenses of severing and crushing it,

   whichever is greater.”).10 In other words, monetary damages, measured by either the royalty value

   of the minerals or by their fair market value less the expense of extracting them, is the remedy for

   trespass to minerals, even for trespass against the Osage mineral estate, and negates the OMC’s

   right to injunctive relief. 11


   9
    Schafer v. Centerpoint Energy Okla. Gas, No. 17-CV-365-GKF-FHM, 2018 WL 1014017 (N.D.
   Okla. May 21, 2018) is far more significant than the OMC wishes. It holds trespass damages are
   an adequate remedy precluding disgorgement, even for periods prior to issuance of the fee patent,
   when the allotted lands remained restricted. Id. at *5. In any event, Oklahoma law is adopted and
   borrowed, and federal law is identical as to Oklahoma’s adequate-remedy-at-law doctrine.
   10
      Harney confirms, even assuming the OMC had a right to say “no” to a lease with Osage Wind,
   the measure of damages is limited to the market value of the minerals less the expenses of severing
   them. See 91 IBLA at 287-289 (discussing a prior IBLA decision applying that damages measure
   to the United States under a similar theory to the OMC’s). Watt v. W. Nuclear, Inc., 462 U.S. 36,
   40-41, & n.2 (1983), is also instructive because, as here, prior to the Supreme Court’s decision,
   whether gravel was reserved to the United States had been unresolved; the Bureau of Land
   Management (“BLM”) determined the trespasser committed an unintentional trespass, and the
   IBLA affirmed BLM’s assessment of damages, based on royalty rates ascertained from appraisals
   of other sites.
   11
      The OMC’s Response provides no authority supporting that the presence of the tower
   foundations in subsurface is a “continuing trespass.” To the contrary, both cases it cites address
   continued mining over a period of months or years, compensable by money damages for minerals
   removed, and neither supports the prospective, “post-mining” remedies challenged by this Partial
   Motion to Dismiss. (See Dkt. # 158, at 13, citing United States v. Hess, 194 F.3d 1164, 1169 (10th
   Cir. 1999); Thompson v. United States, 308 F.2d 628, 633 (9th Cir. 1962)).
                                                    8
Case 4:14-cv-00704-GKF-JFJ Document 159 Filed in USDC ND/OK on 06/10/20 Page 10 of 13




    IV.      THE ISSUE OF WHETHER THE OMC IS ENTITLED TO ANY RELIEF PREMISED UPON THE
             PROJECT’S PRESENCE IN THE GROUND (EXPRESSLY INCLUDING AN INJUNCTION
             REQUIRING REMOVAL OF THE PROJECT) WAS DECIDED IN THE STATE CASE.

             The OMC Response on the issue of the preclusive effect of Osage Nation and Osage

    Minerals Council v. Osage County Board of County Commissioners, et al., District Court of Osage

    County Case No. CV-2014-41 (the “State Case”) is riddled with factual and legal errors.

         The Tenth Circuit’s Opinion cannot be res judicata, which applies in a “second lawsuit” and it

          requires that “the first suit must have proceeded to a final judgment on the merits.” Clark v.

          Haas Grp., Inc., 953 F.2d 1235, 1236 (10th Cir. 1992). The Tenth Circuit did not render a

          final judgment on the merits. The most the Tenth Circuit’s Opinion could be is law of the case,

          and “the law of the case doctrine applies only to issues actually decided.” Cleary v. Wind

          Quarry Operations, LLC, No. 15-CV-189-R, 2017 WL 5172426, at *3 (D. Wyo. Jan. 4, 2017).

         The Tenth Circuit found that the 2011 Federal Litigation in this Court was not res judicata of

          the claim that Osage Wind had violated 25 C.F.R. Part 211 and 214. The Tenth Circuit said

          literally nothing about the State Case. The Tenth Circuit’s res judicata decision makes sense

          inasmuch as one can reasonably conclude that the rock sorting, crushing, and use was not

          known in 2011 and “if OMC had sought relief under 25 C.F.R. § 214.7, Osage Wind might

          have rejoined that it had ample time to secure the approved lease . . . .” Osage Wind, 871 F.3d

          at 1087. But the Project’s subsurface presence clearly was known no later than in this Court’s

          earlier case, Osage Mineral Council v. Wind Capital Group, No. 4:11-cv-00643-GFK-PJC,

          Dkt. # 36 at 3, Findings of Fact, ¶¶ 6, 8, and the OMC alleged it in the State Case as a basis for

          injunctive relief after Project construction had commenced, when a lease allegedly should have

          been in place or in process.




                                                        9
Case 4:14-cv-00704-GKF-JFJ Document 159 Filed in USDC ND/OK on 06/10/20 Page 11 of 13




        Defendants did not invoke the State Case in support of res judicata, but laches. (See May 5,

         2017 FED. R. APP. P. 28(j) letter, copy sans exhibit thereto attached as Exhibit A).

        The OMC makes much of the fact that the State Case and this case involve “distinct cause[s]

         of action.” (Dkt. # 158, at 13). But “while res judicata requires mutuality of causes of action

         collateral estoppel does not. Instead, collateral estoppel applies to identical issues raised in

         successive suits, whether they be addressed in the same claims or not.” Gass v. United States,

         Case No. 99-B-966, 2000 WL 506960, at *2 (D. Colo. Mar. 1, 2000). The issue of whether

         the OMC was entitled to enjoin the Project’s operations and existence was litigated at a time

         when it knew construction had commenced and knew the Project would purportedly be

         “invading” the Osage Mineral Estate. Collateral estoppel prevents that relief here.

        The relevant time for the applicability of res judicata and collateral estoppel is “when a final

         judgment is rendered.” Knox v. Lederle Labs., 4 F.3d 875, 880 (10th Cir. 1993); Dodge v.

         Cotter Corp., 203 F.3d 1190, 1198 (10th Cir. 2000) (collateral estoppel does not apply unless

         “the prior action has been finally adjudicated on the merits”). Assuming, without conceding,

         that the date when “turbine excavation work began” is the relevant temporal metric for

         purposes of the preclusion doctrines, that occurred in September of 2014 (Dkt. # 140, at ¶ 45),

         which is prior to the entry of final judgment in the State Case.12 Thus, the remedies now sought

         could have been sought by the OMC in the State Case even under its own theory of timing.

                                                CONCLUSION

            The Defendants’ Partial Motion to Dismiss (Dkt. # 150) should be granted, as the OMC

    may not pursue any equitable relief or claims for continuing trespass or accounting.




    12
      And the record in this case clearly demonstrates that the OMC was routinely monitoring the
    Project site and photographing activity there. Dkt. # 24-3.
                                                     10
Case 4:14-cv-00704-GKF-JFJ Document 159 Filed in USDC ND/OK on 06/10/20 Page 12 of 13




                                                  Respectfully submitted,

                                                  /s/ Ryan A. Ray
                                                  Ryan A. Ray, OBA # 22281
                                                  NORMAN WOHLGEMUTH CHANDLER
                                                  JETER BARNETT & RAY, P.C.
                                                  2900 Mid-Continent Tower
                                                  401 South Boston Avenue
                                                  Tulsa, OK 74103
                                                  918-583-7571
                                                  918-584-7846 (facsimile)

                                                  -and-

                                                  Lynn H. Slade (admitted pro hac vice)
                                                  Sarah M. Stevenson (admitted pro hac vice)
                                                  MODRALL, SPERLING, ROEHL, HARRIS
                                                  & SISK, P.A.
                                                  Post Office Box 2168
                                                  Albuquerque, NM 87103-2168
                                                  505-848-1800
                                                  505-848-9710 (facsimile)

                                                  ATTORNEYS FOR DEFENDANTS,
                                                  OSAGE WIND, LLC, ENEL KANSAS, LLC
                                                  AND ENEL GREEN POWER NORTH
                                                  AMERICA, INC.

                                    CERTIFICATE OF SERVICE

            I hereby certify that on June 10, 2020, I electronically transmitted the attached Document
    to the Clerk of the Court using the ECF System for filing. Based on the electronic records currently
    on file, the Clerk of the Court will transmit a notice of Electronic Filing to the following ECF
    registrants:

    Cathryn D. McClanahan
    Abi Laura Fain
    David McCullough
    Jeffrey S. Rasmussen
    Mary Kathryn Nagle
    Wilson Kirk Pipestem




    The following non-ECF registrants have been served by First Class United States mail:

                                                    11
Case 4:14-cv-00704-GKF-JFJ Document 159 Filed in USDC ND/OK on 06/10/20 Page 13 of 13




                                    Charles R. Babst, Jr.
                                      Attorney-Advisor
                          United States Department of the Interior
                                    Office of the Solicitor
                                 Tulsa Field Solicitor Office
                                    7906 East 33rd Street
                                      Tulsa, OK 74145
                                       (918) 669-7730
                                 Charles.babst@sol.doi.gov
                          Attorney for the United States of America


                                                         /s/ Ryan A. Ray
                                                         Ryan A. Ray




                                             12
